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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION


STEPHEN FLOOD, individually and
on behalf of all others similarly situated,

      Plaintiff,

v.                                                CASE NO. 2:20-cv-00623-JLB-NPM

FIRST FAMILY INSURANCE, INC.,
and JASON MARRA,

      Defendants.
_______________________________________


                                        ORDER

      The Plaintiff announces a settlement. (Doc. 12.) Under Local Rule 3.08(b),

this action is DISMISSED subject to the right of any party within sixty days to

(1) submit a stipulated form of final order or judgment, or (2) move to vacate the

dismissal for good cause. The clerk is directed to close the case.

      ORDERED in Fort Myers, Florida, on October 15, 2020.
